                                                                                                                                                                                                       Page:       1
                                   Case 17-44766-mxm7                 Doc 338           Filed 01/28/22 Entered 01/28/22 15:46:58                                   Desc Main
                                                                                      Document FORM  1
                                                                                                    Page 1 of 3
                                                                     INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                      ASSET CASES
Case No:              17-44766                       MXM             Judge:        MARK X. MULLIN                               Trustee Name:                       Marilyn D. Garner, Trustee
Case Name:            American Fuel Cell And Coated Fabrics Company                                                             Date Filed (f) or Converted (c):    09/18/2019 (c)
                                                                                                                                341(a) Meeting Date:                10/23/2019
For Period Ending:    12/31/2021                                                                                                Claims Bar Date:                    12/19/2019


                                   1                                              2                            3                             4                           5                             6

                         Asset Description                                      Petition/                Est Net Value               Property Formally               Sale/Funds                    Asset Fully
             (Scheduled and Unscheduled (u) Property)                         Unscheduled            (Value Determined by               Abandoned                    Received by               Administered (FA)/
                                                                                Values                Trustee, Less Liens,              OA=554(a)                     the Estate            Gross Value of Remaining
                                                                                                          Exemptions,                                                                                Assets
                                                                                                        and Other Costs)

  1. Wells Fargo DIP Funds                                                            124,580.00                   124,580.00                                                        0.00                        FA

     Pursuant to Agreed Order Granting Motion of Amfuel Capital,
     LLC for Turnover and Release of Funds entered 12/10/2019
     (doc 267) - funds previously held in Debtor's ch 11 DIP
     account are collateral for Amfuel Capital and turned over to
     the creditor.
  2. 12/2018 F-941 Income Tax Refund (u)                                               90,240.25                    90,240.25                                                        0.00                        FA

     pursuant to Order granting AmFuel Capital LLC Motion for
     Turnover and Release of Funds entered January 11, 2022.
     These funds which are collateral of AmFuel apital were turned
     over to the secured lender.
  3. 12/2018 F-940 Income Tax Refund (u)                                                    144.23                    144.23                                                         0.00                        FA

     pursuant to Order granting AmFuel Capital LLC Motion for
     Turnover and Release of Funds entered January 11, 2022.
     These funds which are collateral of AmFuel apital were turned
     over to the secured lender.
  4. Preference Payments (u)                                                            5,000.00                    50,000.00                                                        0.00                        FA
  5. Preference recovery Mid South Steam Boiler &Engineering                                  0.00                   8,000.00                                                        0.00                        FA
     Co (u)

     Agreement and Compromise Pursuant ot Rule 9010
  6. Jevac Machine Inc (u)                                                                    0.00                  20,000.00                                                        0.00                        FA

     Agreement and Compromise Pursuant ot Rule 9010
  7. Buffalo Industrial Fabrics INC. (u)                                                      0.00                   7,500.00                                                        0.00                        FA

     Agreement and Compromise Pursuant ot Rule 9010
  8. Preference Recovery Collier INvestments, LLC (u)                                 291,779.01                   291,779.01                                                25,000.00                           FA

     Agreement and Compromise Pursuant ot Rule 9010
  9. Preference Recovery AT&T, CORP (u)                                                18,716.33                    18,716.33                                                 3,100.00                           FA

     Agreement and Compromise Pursuant ot Rule 9010
                                                                                                                                                                                                       Page:       2
                                   Case 17-44766-mxm7                    Doc 338          Filed 01/28/22 Entered 01/28/22 15:46:58                                 Desc Main
                                                                                        Document FORM  1
                                                                                                      Page 2 of 3
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
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Case No:              17-44766                         MXM            Judge:        MARK X. MULLIN                              Trustee Name:                       Marilyn D. Garner, Trustee
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For Period Ending:    12/31/2021                                                                                                Claims Bar Date:                    12/19/2019


                                   1                                                2                           3                            4                           5                             6

                         Asset Description                                       Petition/                Est Net Value              Property Formally               Sale/Funds                    Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled            (Value Determined by              Abandoned                    Received by               Administered (FA)/
                                                                                 Values                Trustee, Less Liens,             OA=554(a)                     the Estate            Gross Value of Remaining
                                                                                                           Exemptions,                                                                               Assets
                                                                                                         and Other Costs)

 10. Preference Recovery FedEx Freight, INC. (u)                                          18,198.69                 18,198.69                                                  7,500.00                          FA

     Agreement and Compromise Pursuant ot Rule 9010
 11. Preference Recovery Safety-Kleen Systems, INC. (u)                                   25,586.68                 25,586.68                                                        0.00                        FA

     Agreement and Compromise Pursuant ot Rule 9010
 12. Preference Recovery BOC SCI, INC (u)                                                      0.00                  5,000.00                                                  5,000.00                          FA

     Agreement and Compromise Pursuant ot Rule 9010
 13. Preference Recovery Brand & Oppenheimer (u)                                          61,489.22                 61,489.22                                                 15,000.00                          FA

     Agreement and Compromise Pursuant ot Rule 9010
 14. Preference Recovery Texoma Freight, INC. (u)                                         15,250.00                 15,250.00                                                  6,000.00                          FA

     Agreement and Compromise Pursuant ot Rule 9010
 15. Forshey & Prostok IOLTA Account                                                      98,397.53                 98,397.53                                                        0.00                        FA
 16. Momentum Telecom, Inc. (u)                                                                0.00                  2,000.00                                                  2,000.00                          FA

     Agreement and Compromise Pursuant ot Rule 9010
INT. Post-Petition Interest Deposits (u)                                                  Unknown                         N/A                                                        0.00                        FA


                                                                                                                                                                                   Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                     $749,381.94              $836,881.94                                                 $63,600.00                        $0.00
                                                                                                                                                                                   (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

  The Estate is administratively insolvent. After Payment of Chapter 7 administrative expenses, the remaining funds on hand will be paid to AmFuel Capital, LLC ($978,259.89)
  [Docket 335] Debtor's secured lender, for payment on its super priority administrative claim.
                                                                                                                                         Page:   3
                                Case 17-44766-mxm7                Doc 338         Filed 01/28/22 Entered 01/28/22 15:46:58   Desc Main
Initial Projected Date of Final Report (TFR): 12/31/2021        Current Projected Date of Final Report
                                                                               Document            Page(TFR):303/30/2022
                                                                                                               of 3
Trustee Signature:      /s/ Marilyn D. Garner, Trustee     Date: 01/28/2022
                        Marilyn D. Garner, Trustee
                        2001 E. Lamar Blvd., Suite 200
                        Arlington, TX 76006
                        (817) 505-1499
                        mgarner@marilyndgarner.net
